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                                                                                Wednesday, 20 June, 2018 02:09:36 PM
                                                                                        Clerk, U.S. District Court, ILCD

                                 UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF ILLINOIS
                                     SPRINGFIELD DIVISION

ASHLEY ULERY,                                         )
                                                      )
                  Plaintiff,                          )
                                                      )
         v.                                           )        Case No. 3:18-cv-3152
                                                      )
CAPITAL ONE BANK (USA), N.A.,                         )
d/b/a Cabela’s Club,                                  )
                                                      )
                  Defendant.                          )

                                        PLAINTIFF’S COMPLAINT

         Plaintiff, ASHLEY ULERY (“Plaintiff”), through her attorneys, alleges the following against

Defendant, CAPITAL ONE BANK (USA), N.A. (“Defendant”):

                                              INTRODUCTION

         1.       This action is brought pursuant to the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227 et seq.

                                      JURISDICTION AND VENUE

         2.       This Court has subject matter jurisdiction of this action pursuant to 47 U.S.C. § 227(b)(3)

and 28 U.S.C. § 1331.

         3.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the acts and transactions

giving rise to this action occurred in this district as Plaintiff resides in this district and Defendant transactions

business in this district.

                                                   PARTIES

         4.       Plaintiff is a natural person who at time relevant resided Lincoln, Illinois.
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        5.       Defendant is a business entity with headquarters located in Virginia.

        6.       Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                      FACTUAL ALLEGATIONS

        7.       Plaintiff has a Cabela’s Club credit card which is issued and/or serviced by Defendant.

        8.       Defendant started calling Plaintiff at telephone number (217) 720-62xx.

        9.       Telephone number (217) 720-62xx is assigned to Plaintiff’s cellular telephone.

        10.      The purpose of Defendant’s calls was related to the credit card.

        11.      These calls were for a non-emergency purpose.

        12.      Upon information and good faith belief, based on the frequency, number, nature and

character of these calls, Defendant placed them by using an automatic telephone dialing system.

        13.      On or about January 2, 2018, Plaintiff spoke with Defendant.

        14.      During this conversation, Plaintiff informed Defendant that she wanted Defendant to stop

calling her cell phone.

        15.      During this call, Defendant’s representative confirmed that they would no longer be

contacting Plaintiff’s cell phone number.

        16.      Defendant continued to use an automatic telephone dialing system to call Plaintiff’s cell

phone after January 2, 2018.

        17.      Between January 2, 2018 and February 14, 2018, Defendant used an automatic telephone

dialing system to call Plaintiff’s cellular telephone at least sixty-two (62) times.

        18.      Defendant called Plaintiff’s cell phone multiple times per day.

        19.      Defendant called Plaintiff’s cell phone up to three (3) times in a single day.


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         20.     Defendant willfully and voluntarily used an automatic telephone dialing system to call

Plaintiff’s cell phone.

         21.     Defendant intended to use an automatic telephone dialing system to call Plaintiff’s cell

phone.

         22.     Defendant did not have Plaintiff’s express consent to use an automatic telephone dialing

system to call Plaintiff’s cell phone.

         23.     Plaintiff is annoyed and feels harassed by Defendant’s calls.

                              COUNT I
     DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

         24.     Defendant’s actions alleged supra constitute numerous violations of the TCPA, entitling

Plaintiff to an award of $500.00 in statutory damages for each and every violation pursuant to 47 U.S.C. §

227(b)(3)(B).

         25.     Defendant’s actions alleged supra constitute numerous and multiple knowing and/or willful

violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory damages for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

         WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for the

following:

         26.     Statutory damages of $500.00 for each and every violation of the TCPA pursuant to 47

U.S.C. § (b)(3)(B),

         27.      Statutory damages of $1500.00 for each and every knowing and/or willful violation of the

TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C),

         28.     All court costs, witness fees and other fees incurred,



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       29.    Any other relief that this Honorable Court deems appropriate.




                                                     Respectfully submitted,

Dated: June 20, 2018                                 /s/ Adam T. Hill
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